                 Case: 17-35016, 02/10/2017, ID: 10316177, DktEntry: 7, Page 1 of 1
                Case 2:16-cv-00030-SEH Document 90 Filed 02/13/17 Page 1 of 1
                                                                                   FILED
                           UNITED STATES COURT OF APPEALS                          FEB 10 2017

                                                                              MOLLY C. DWYER, CLERK
                                   FOR THE NINTH CIRCUIT                        U.S. COURT OF APPEALS




 GINA JAEGER, individually, and as                     No.    17-35016
 Personal Representative of the Estate of
 her sister, Charlene Hill,                            D.C. No. 2:16-cv-00030-SEH
                                                       District of Montana,
                     Plaintiff-Appellant,              Butte

  v.
                                                       ORDER
 WILLIAM POWELL; et al.,

                     Defendants-Appellees.


          Appellant’s motion to dismiss this appeal (Docket Entry 6) is granted. Fed.

R. App. P. 42(b).

          A copy of this order shall serve as and for the mandate of this court.

          The assessment conference previously scheduled for February 15, 2017, is

canceled.

                                                    FOR THE COURT


                                                     By: Margaret A. Corrigan
                                                     Circuit Mediator
MAC/Mediation
